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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION


MICHAEL PHAN,

      Plaintiff,


v.                                          CASE NO.     3:14-cv-84-J-25JBT

CONVERGENT OUTSOURCING, INC., and
ENHANCED RECOVERY COMPANY, LLC,

     Defendants.
________________________________________

                                      ORDER

      Pursuant to Plaintiff’s Notice of voluntary dismissal of Defendant, Enhanced

Recovery Company, LLC. (Dkt. 12), it is,

      ORDERED that this action is DISMISSED with prejudice as to Defendant,

Enhanced Recovery Company, LLC, only.

      DONE AND ORDERED at Jacksonville, Florida this 3rd day of April, 2014.




Copies to: Counsel of Record
